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                          IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF UTAH

LINDA P. SMITH,                                  )
                                                 )
                 Plaintiff,                      )
                                                 )
        v.                                       )
                                                        Case No. 1:21-cv-47 (CMR)
                                                 )
XAVIER BECERRA, in his official capacity         )
as Secretary of Health and Human Services,       )
                                                 )
             Defendant.                          )
                                                 )


                Defendant’s Response to Plaintiff’s Motion for Status Conference

        As noted in plaintiff’s motion, ECF No. 49 (“Pl.s’ Mot.”), defendant the Secretary of

Health and Human Services does not oppose the request for a status conference or ruling on the

pending motions for summary judgment. Defendant writes separately to provide the Court with

more information with respect to a recent regulatory development relevant to the claims at issue

in this case.

        On December 28, 2021, through notice-and-comment rulemaking, the Centers for

Medicare & Medicaid Services, U.S. Department of Health and Human Services, issued a final

rule entitled, Medicare Program; Durable Medical Equipment, Prosthetics, Orthotics, and

Supplies (DMEPOS) Policy Issues, and Level II of the Healthcare Common Procedure Coding

System (HCPCS); DME Interim Pricing in the CARES Act; Durable Medical Equipment Fee

Schedule Adjustments To Resume the Transitional 50/50 Blended Rates To Provide Relief in

Rural Areas and Non-Contiguous Areas, 86 Fed. Reg. 73,860, 73,860–73,911 (Dec. 28, 2021)

(the “DME Final Rule”).1 Among other things, the final rule observes:



1
 The Secretary previously alerted the Court to the proposed rulemaking that led to the DME
Final Rule. See, e.g., ECF No. 32 at 3 (Def.’s Cross-Mot. for SJ & Opp. to Pl’s Mots. For SJ);
ECF No. 47 at 2, 12 (Def.’s SJ Reply); id. at 2 (discussing comments made by the Secretary’s
counsel at the initial hearing in this case).
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           [Medicare] beneficiaries are currently using disposable continuous
           glucose sensors and transmitters that have not been approved or
           cleared by the FDA to replace a blood glucose monitor for use in
           making diabetes treatment decisions with insulin infusion pumps that
           also function as ‘‘adjunctive’’ or ‘‘non-therapeutic’’ [continuous
           glucose monitor (“CGM”)] receivers. Beneficiaries are using the
           readings from these disposable sensors that are received and displayed
           by the insulin pump to help manage their diabetes. Claims submitted
           for CGM sensors and transmitters used with insulin pumps are being
           denied inappropriately based on CMS–1682–R even though this
           Ruling only addressed the classification of CGM receivers as DME
           and did not address coverage of CGM sensors and transmitters used
           with insulin pumps.
Id. at 73,898 (emphasis added).2 The DME Final Rule further states:

           [W]e believe that disposable continuous glucose sensors and
           transmitters that work in conjunction with an insulin pump that also
           operates as a continuous glucose monitor’s receiver component to
           alert the patient about potentially dangerous glucose levels while they
           sleep are primarily and customarily used to serve a medical purpose.
           We now believe that because adjunctive CGMs or adjunctive
           continuous glucose sensors and transmitters used with insulin pumps
           can provide information about potential changes in glucose levels
           while a beneficiary is sleeping and is not using a blood glucose
           monitor, these CGMs or CGM functions on insulin pumps are
           primarily and customarily used to serve a medical purpose.
Id. at 73,899 (emphasis added).

        In light of the foregoing, the Secretary renews his request to enter judgment in favor of

plaintiff and to remand to the Secretary to pay the claims at issue in this case. As the Court is

aware, plaintiff Linda Smith seeks review of a decision of the Medicare Appeals Council, which

denied three claims for coverage under Medicare Part B. One claim concerned a MiniMed 630G

system with Smartguard—a durable insulin pump that also functions as a continuous glucose

2
 Additionally, the final rule supersedes CMS Ruling CMS–1682–R (Jan. 2017) with respect to
CGM systems and classifies such systems as durable medical equipment (“DME”). 86 Fed. Reg.
at 73,896–902. Plaintiff’s motion asserts without citation that the Secretary intends to continue to
rely on CMS Ruling CMS–1682–R to reject CGM claims for the next ~14 months. Pl.’s Mot. at
2. The regulations promulgated in the DME Final Rule take effect on February 28, 2022. 86 Fed.
Reg. at 73,860. However, contrary to plaintiff’s unsupported assertions, Pl.’s Mot. at 2, nothing
prevents the Secretary from considering the reasoning in the DME Final Rule and applying it to
claims with dates of service earlier than February 28, 2022.

                                                  2
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monitor—while the others concerned disposable glucose sensors for use with that device. The

MAC’s denial of these claims was based at least in part on its reading of CMS Ruling CMS–

1682–R. At the outset of this case, pursuant to Local Civil Rule 7-4(a)(2)(B), the Secretary of

Health and Human Services confessed error as to all three claims. See ECF No. 10 at 1 (Def.’s

Resp. to Compl.). At that time, the Secretary urged this Court to enter judgment in favor of Mrs.

Smith and to remand for payment of the claim for the insulin pump, and “determination of

whether the sensors should be covered as reasonable and necessary for the operation of the

insulin pump.” Id. at 2. Plaintiff opposed the remand on the ground that the “resolution proposed

by the Secretary [would] not provide Mrs. Smith the relief she seeks” because the proposed

resolution sought “a remand to the Secretary for … a determination of whether the sensors

should be covered.” ECF No. 17 (Pl.’s Resp. to June 24, 2021 Order) (emphasis added).

       The recently issued DME Final Rule makes clear that “claims submitted for CGM

sensors and transmitters used with insulin pumps are being denied inappropriately based on

CMS–1682–R” because that “Ruling only addressed the classification of CGM receivers as

DME and did not address coverage of CGM sensors and transmitters used with insulin pumps.”

86 Fed. Reg. at 73,898 (emphasis added). Further, the DME Final Rule states that the Secretary

“now believe[s] that … glucose sensors and transmitters used with insulin pumps … are

primarily and customarily used to serve a medical purpose.” Id. at 73,899. These sentences

pertain to Ms. Smith’s claims in this case because the system she uses is an insulin pump that

also has CGM capability, and she seeks reimbursement for the system itself as well as for

disposable sensors used with it. Therefore, in light of the Secretary’s prior confession of error as

to all three claims at issue in this case, and given the DME Final Rule and the Secretary’s

representation that he would pay the three claims, the Secretary respectfully requests that the

Court enter judgment in favor of plaintiff on these grounds and remand to the Secretary for

payment of the three claims at issue in this case.

        Plaintiff’s instant motion mentions a more recent administrative claim that is not

discussed in the Complaint or part of the administrative record in this case, and thus, it is not

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properly before the Court. Pl.’s Mot. at 1. While plaintiff’s counsel only provided undersigned

counsel a copy of the December 17, 2021, claim appeal denial letter sent by the Medicare

Qualified Independent Contractor (“QIC”), and not the underlying claim documentation, it

appears that the above-quoted portions of the DME Final Rule may also be relevant to Ms.

Smith’s claim in that matter. If so, she could appeal the decision on that basis to the

Administrative Law Judge.

       As to the three claims that are at issue in this case, the Court should enter judgment in

favor of plaintiff as discussed above and remand those three claims to the Secretary for payment

without holding a status conference. Should the Court reach the pending summary judgment

cross-motions (ECF Nos. 28, 29, 31), the Court could decide them without a status conference or

hearing. That said, defendant does not oppose plaintiff’s request for a status conference, and

stands ready to participate in such conference or a hearing if the Court would find it helpful.


Dated: January 7, 2021                            Respectfully submitted,

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                                                    /s/ Lisa Zeidner Marcus
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